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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

     Talia N. Harrison,                              §
                                                     §
              Plaintiff,                             §
                                                     §
     v.                                              §       Civil Action No. 4:21-cv-607-ALM
                                                     §
     Tyler Technologies, Inc.                        §
                                                     §
              Defendant.                             §

                             ORDER GRANTING UNOPPOSED MOTION FOR
                           LEAVE TO FILE BRIEF IN EXCESS OF PAGE LIMITS


             Before the Court is Plaintiff’s Unopposed Motion for Leave to File Brief in Excess of Page
.
    Limits (the “Motion” - Dkt. #52). Having considered the Motion, and for good cause shown, the

    Court finds that the Motion should be and hereby is GRANTED, and Reply Dkt. #53 is deemed

    filed.

             IT IS SO ORDERED.

             SIGNED this 25th day of April, 2023.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
